Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 1 of 10

'IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF MARYLAND

IN THE MATTER oF THE
APPLICATION or THE UNITED
sTATEs 0F AMERICA FoR A ` ,
WARRANT To sEARCH CERTAIN ease No. l cl ' %7 g S/H G/
cELLuLAR TELEPHoNEs
cURRENTLY IN THE cusronv or
THE BUREAU oF ALcoHoL,

TOBACCO, FIREARMS, AND
EXPLOSIVES

 

 

 

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

I, John Messick, Special Agent with the Bureau of Alcohol, Tobacco, Fireanns, and
Explosives (“ATF”), being duly sworn, depose and state as follows:

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l. I submit this affidavit to apply for a warrant to Search the following cellular
' telephones: one black l Phone X contained inside a black case (the “Subject Electronic Device
l”); one blackll Phone S with FCC ID: BCG-E2944A (“Subject Electronic Device 2”); and one
black LG phone (“Subject Electronic Device»3”) (collectively “the Subject Electronic Devices”)
(also described in Attachrnent A), that were seized from 1722 N. Ellamont Street, Baltimore,
Maryland, on February 21, 2019, by the Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF), pursuant to a search and seizure warrant executed in the course of an investigation of
Terrell STUCKEY and others.

2. The Subject Electronic Devices are believed to contain and conceal items that
constitute evidence of a violation of 21 U.S.C. § 84l(a), possession with intent to distribute
controlled and dangerous substances The Subject Electronie Devices are currently in the custody
of the ATF in Baltimore, Maryland.

3. The applied for Warrant would authorize the examination of the Subject

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Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 2 of 10

E]ectronic Devic_es for the purpose of identifying electronically stored data described in
Attachment B and using the protocols described in Attachment B by members of the ATF, or
their authorized representatives, including but not limited to other law enforcement agents
assisting in the above described investigation

AGENT BACKGROUND /'I`RAINING

4. Your Affiant is “an investigative or law enforcement officer” of the United States
within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the
United States who is empowered by law to conduct investigations of, and to make arrests for,
offenses enumerated in Section 2516 of Title 18, United States Code.

5. l am a Special Agent with the Bureau of` Alcohol, Tobacco, Firearms and
Explosives (“ATF”), United States Department of Justice, and has been employed in such
capacity since November of 2f)16. Your Affiant has successfully completed the Criminal
lnvestigator Training Program (CITP) and the ATF Special Agent Basic Training (SABT)
Academy at the Federal Law Enforcement Training Center, located in Glynco, 'Georgia, where
your Affiant received specialized training in the investigation of federal crimes involving
firearms, alcohol and tobacco diversion, arson and explosives, and narcotics Your Af`fiant is
currently assigned to the Baltimore Field Division. Your Affiant has participated in numerous
investigations including, but not limited to, violent crime, firearms violations, and illegal drugs.
\` Your Affiant has also been involved in one (l) Title lll wiretap investigation that involved all
three of the aforementioned violations. Your affiant has participated in the arrest of numerous

persons for narcotics, violent crime, and/or firearms violationsl

Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 3 of 10

6. Prior to my employment with ATF, l was a Probation Officer for the Pickaway
County Intensive Supervision Probation Program in Circleville, Ohio for Six (6) years. Your
Affiant currently possess a Bachelor’s Degree in Criminology from Ohio University.

7. Through training, experience, interviews and numerous hours of surveillance of
suspected illegal firearms traffickers/possessors, your Affiant is familiar with the actions, traits,
habits and terminology used. In addition, illegal firearms/narcotics traffickers freouently use
cellular telephones, communication devices, and other electronic media storage to further their
illegal activities and frequently maintain numerous such electronic devices in an effoft to conceal
their activitiesl Your affiant is familiar with 21 U.S.C. § 841 (a), which makes it a violation for
any person to possess with the intent to distribute controlled dangerous substancesl

8. Based upon your affiant’s training, experience and participation in this and other
firearms/narcotics investigations, I know the following:

a. Narcotics traffickers frequently maintain books, ledgers, records and
other documents relating to the manufacture, transportation, possession, and distribution of
firearms and controlled substances Such documentation is frequently maintained where the
traffickers have ready access to it, including their homes, offices and electronic devices such as
cellular phones, pages, personal digital assistants (“PDAS”), or “smart” phones.

b. Narcotics traffickers commonly maintain books, records and other
documents or items that identify and contain the names, addresses and/or telephone or pager
numbers of associates in their narcotics trafficking activities, including, but not limited to

cellular telephones, pagers, PDAS, and “smart” phones.

Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 4 of 10

c. Narcotics traffickers often use cellular telephones pagers, PDAS, or
“smart” phones, to conduct their business and to store information such as names, addresses
phone numbers, and logs of narcotics sales

d. Narcotics traffickers often also keep records of their activities
including the amounts provided and any funds owed. They also generally keep information
about co-conspirators on-hand, including phone numbers and other contact information.

9. This investigation is being conducted by the ATF. I have personally participated
in this investigation and make this affidavit based upon personal participation in this
investigation and based on reports made by other law enforcement officers that will be discussed
in detail below. lnformation resulting from surveillance sets forth observations provided directly
or indirectly through other law enforcement officers who conducted such surveillance and
interaction. Not all of the facts of the investigation known to me are contained herein, only those
necessary to establish probable cause for the stated offenses I have not, however, omitted any
information that would defeat a determination of probable cause. In addition, the summaries do
not include references to all statements made on the topics that are described. All quotations
from recorded conversations are based upon the affiant having personally listened to the
recordings This affidavit is not intended to include each and every fact and matter observed by
me or known to the government

PROBABLE CAUSE

lO. Since January of` 2018, the ATF has been investigating a violent narcotics
trafficking organization that operates in the 5100 block of Park Heights Avenue in Baltimore,
Maryland and the surrounding areas Based on evidence gathered to date, including information

from confidential sources, observations of law enforcement officers, and controlled purchases of

Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 5 of 10

“crack” cocaine, investigators believe that members of the drug trafficking organization (DTO)
are responsible for trafficking cocaine base and marijuana in Northwest Baltimore City. The
investigation led to the identification of Terrell STUCKEY with State ldentification Number
(“SID”) 3197592 and FBI Number 138967VC5 as a drug trafficker and member of the above-
described DTO.

ll. In connection With the investigation, on February 19, 2019, United States
Magistrate .ludge Stephanie A. Gallagher authorized a search and seizure warrant for 1722 N.
Ellamont Street, Baltimore, Maryland. STUCKEY was the target of said Warrant.

12. l d On the morning of February 21, 2019, at approximately 6:10 a.m., members of
ATF executed the search and seizure warrant on 1722 N. Ellamont St, Baltimore, l\/laryland.
Investigators observed STUCKEY inside of the residence. Subject Electronic Device l and
Subject Electronic Device 2 were recovered from STUCKEY’S bedroom during the execution of
the search warrant

13. Members of law enforcement also recovered a large clear bag containing
suspected marijuana and a clear plastic jug containing suspected marijuana from inside of
STUCKEY’S bedroom. Subject Electronic Device 3 was recovered in the basement along with
several small zip lock baggies, believed to be used to distribute controlled dangerous substances

14. Members of ATF read STUCKEY Mr`randa warnings and thereafter, STUCKEY
stated in substance that he resided inside of 1722 N. lElllamont Street STUCK`EY also told
investigators in substance and post Mz`randa, that the suspected marijuana recovered from the
bedroom belonged to him. SMALLWOOD also told investigators that he sells marijuana

15. During the course of the investigation into SMALLWOOD and others, I

determined that STUCKEY’S phone number was 443-414-2623. l based this determination, in

Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 6 of 10

part, on a search through several investigative databases which revealed that telephone number
443-414-2623 was registered to STUCKEY. After the Subject Electronic Device l was
recovered, l asked STUCKEY if he Would provide investigators with the passcode belonging to
Subject Electronic Device l, and STUCKEY told investigators that the passcode was “011949.”
l put said passcode into Subject Electronic Device l, andknow this passcode unlocked the
phone. STUCKEY also told investigators that his phone number was, “443-414-2623,” therefore,
I believe Subject Electronic Device l belongs to STUCKEY.

16. I know based on my training and experience, that drug traffickers use cellular
telephones like the Subject Electronic Devices and other electronic devices such as tablets to
coordinate and communicate with suppliers, customers, and co-conspirators. Thus, I believe
evidence related to drug trafficking are present on the Subject Electronic Devices l further
believe that entering the passcode for the phone Will allow ATF investigators to unlock the
Subject Electronic Device l to obtain the information listed in Attachment B.

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17. l submit that the facts recounted above establish probable cause that STUCKEY
has committed a violations of 21 U.S.C. § 84l(a), and that Subject Electronic Devices contain
evidence of possession with intent to distribute controlled dangerous substances

18. WHEREFORE, l respectfully request that the Court issue a warrant authorizing
members of the ATl:, or their authorized representatives including but not limited to other law
enforcement agents assisting in the above described investigation, to search the Subject
Electronic Devices, as described in Attachrnent A, for the purpose of identifying electronically
stored data particularly described in Attachment B and using the protocols described in

Attachment A.

Case 1:19-mj-00878-SAG Document 3 Filed 03/2$@ ~P&ng'tg€/(f

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John Messick

Special Agent
Bureau `of Alcohol, Tobacco Firearms and
Explosives ' `
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- Subscribed and sworn to before me this l 3 day of March, 2019.
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Hon. AStephanie A. Gallagher
United 'States,;Magistrate {udge

 

Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 8 of 10

A__TTM
Description of the ltems to be Searched
0 A black I Phone X contained in a hard case and any attached SIM or memory card (the
Subject Electronic Device 1)
0 A black I Phone S with FCC ID: BCG-E2944A and any attached SIM or memory card
(the Subject Electronic Device 2) l
0 A black LG Phone (Subj ect Electronic Device 3)
The above cellular phones Were seized from 1722 N. Ellamont Street, Baltimore, Maryland, on
February 21, 2019, by the Bureau of Alcohol, Tobacco, Firearrns and Explosives (ATF),
pursuant to a search and seizure Warrant executed in the course of an investigation of Terrell

STUCKEYr and others The devices will be charged and powered on. The device is in custody of
the ATF in Baltimore, Maryland.

Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 9 of 10

ATTACHMENT B
Searcll Protocols

This warrant authorizes the search and seizure of the following electronically stored
information, contained within the items described in Attachment A:

a. digital images;

b. digital videos;

c.\ records of incoming and outgoing voice communications;
d. records of incoming and outgoing text messages;

e. the content of incoming and outgoing text messages;

f. voicemails;

g. voice recordings;

h. contact lists; and

i. location data;

that are related to the investigation into narcotics trafficking as more fully described in the
Attached Affidavit.

Because of the possibility that the files examined pursuant to the warrant Will include
information that is beyond the scope of what the United States has demonstrated the existence
probable cause to search for, the Search shall be conducted in a manner that will minimize to the
greatest extent possible the likelihood that files or other information for which there is not
probable cause to search is not viewed.

While this protocol does not prescribe the specific search protocol to be used, it does
contain limitations to what the government investigators may view during their search, and the
searching investigators shall be obligated to document the search methodology used in the event
that there is a subsequent challenge to the search that Was conducted, pursuant to the following
protocol. '

With respect to the search of any digitally/electronically stored information that is seized
pursuant to this warrant, and described in Attachrnent A hereto, the search procedure shall
include such reasonably available techniques designed to minimize the chance that the
government investigators conducting the search will view information that is beyond the scope
for which the probable cause exists

Case 1:19-mj-00878-SAG Document 3 Filed 03/26/19 Page 10 of 10

The following list of techniques is a non-exclusive list which illustrates the types of
search methodology that may avoid an overbroad search, and the government may use other
procedures that, like those listed below, minimize the review of information not within the list of
items to be seized as set forth herein:

a. Use of computer search methodology to conduct an examination of all the data contained
in such computer hardware, computer software, and/or memory storage devices to
determine whether data falls within the items to be seized as set forth herein by specific
date ranges, names of individuals, or organizations;

b. Searching for and attempting to recover any deleted, hidden, or encrypted data to
determine whether that data falls within the list of items to be seized as set forth herein;

c. Physical examination of the storage device, including digitally surveying various file
directories and the individual files they contain to determine whether they include data

falling Within the list of items to be seized as set forth herein; and

d. Opening or reading portions of files that are identified as a result of conducting digital
search inquiries in order to determine their relevance.

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